Case 4:09-cr-00043-SPF Document 80-6 Filed in USDC ND/OK on 06/15/09 Page 1 of 1

INFORMATION NEEDED TO ISSUE A ND/OK GRAND JURY SUBPOENA

\ Agent's Narne/Agency (LIAN SUEEM L1RS _ oo
"USA's Name__MELOOY NEL SON

Witness Name OSCAR. oT (LLEY
Witness Address FlDZS Mace Tracle. Loop , Fort Sent. Ak 72 ¢l6é

(Address required for al] financial institution subpoenas, including zip code}
Name of Grand Jury target LINDSEY SPEIN GE IE.
Month and panel of GJ Appearance (PL TOBE

_ Testimony X_ Documents

For documents, give brief description or attachment: Melody ,
. Picase fevited 7D
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(C9 /e4t foepk. az.

Thiet 5,
Gaba

“15 4Savice of Rights or targeV/subject warning needed? Yes No “ea
lds Telephone GJ Disclosure language needed? x No

Is Voucher needed? yy Yes” _ NO

is Business Authenticity certificate. needed? * x Yes Na

Is infarmation requested on flopay disk? , . Yes x No

is Financial Institution Warning needed? Yes XxX No

(For 18 U.S.C. §§215, 656, 657, 1005, 1008, 1007, 1014, 1344, 1956 or 1957; OR Chanter 33 of Title 321 ar some
contraited substance investigation; OR 18 U.S.C. §1341, 1343 (if bank is vietirn).

Financiai records requested are for recards oeraining to:
x an individual
smail partnershia
company
corporation
(NOTE: A separate subpoena wil! be sent if there are reimbursable and non-reimbursable records)

Today's date F/Z22 [05 Service oy: agent certified maii _ fax

AUSA's review & approval initials (required for issuance cf subpoena):

“TARGET LANGUAGE APPROVED PER 17/7/01 MEMO:
CEO; SW / DAR EKES

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